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                                            February 21, 2022
VIA ECF
 The Honorable Vernon S. Broderick
 United States District Judge
 United States District Court
 Southern District of New York
 Thurgood Marshall United States Courthouse
 40 Foley Square, Room 415
 New York, NY 10007


          Re:        Angel Ayala v. BL 62 West 9th St, LLC., et al., Dkt. No. 20-cv-05233 (VSB)

Dear Judge Broderick:
        Defendants BL 62 West 9th St, LLC d/b/a Casa Apicii, BL 62 West 9th Management, LLC,
Apicii, LLC, Apicii Advisors, LLC, Apicii Management, LLC, Thomas A. Dillon, and Bernard
Schwartz (collectively, “Defendants”) write to provide Your Honor with a status update on the
parties’ progress in submitting a revised proposed settlement agreement to the Court.
        Pursuant to the Court’s February 1, 2022 Order, Your Honor granted the parties’ request for
an extension of time to submit a revised proposed settlement agreement due to our difficulties in
communicating with Defendants about this matter. We were able to connect with our clients late last
week and are in the process of revising the proposed settlement agreement, and will obtain the parties’
signatures forthwith. Accordingly, we respectfully request an additional two (2) weeks, until March
7, 2022, to submit a fully executed revised proposed settlement agreement for the Court’s
consideration.




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        We thank the Court for its attention to this matter.

                                                        Respectfully submitted,

                                                        FOX ROTHSCHILD LLP
                                                        /s/ Matthew C. Berger
                                                        Matthew C. Berger
cc:    All Counsel of Record (via ECF)




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